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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

    FEDERAL TRADE COMMISSION and                                 Case No. 1:17-cv-00124-LLS
    THE PEOPLE OF THE STATE OF NEW
    YORK, by LETITIA JAMES, Attorney
    General of the State of New York,
                             Plaintiffs,
                             v.
    QUINCY BIOSCIENCE HOLDING
    COMPANY, INC., a corporation;
    QUINCY BIOSCIENCE, LLC, a limited
    liability company;
    PREVAGEN, INC., a corporation
    d/b/a/ SUGAR RIVER SUPPLEMENTS;
    QUINCY BIOSCIENCE
    MANUFACTURING, LLC, a limited
    liability company; and
    MARK UNDERWOOD, individually and as
    an officer of QUINCY BIOSCIENCE
    HOLDING COMPANY, INC., QUINCY
    BIOSCIENCE, LLC, and PREVAGEN,
    INC.,
                             Defendants.


NOTICE OF FILING OF EXPERTS WITNESS STATEMENT OF DAVID GORTLER

         PLEASE TAKE NOTICE that Defendants Quincy Bioscience Holding Company, Inc.,

Quincy Bioscience, LLC, Prevagen, Inc., Quincy Bioscience Manufacturing, LLC, and Mark

Underwood (collectively, “Defendants”) hereby file the statement of expert witness David Gortler,

Pharm D. (attached as Exhibit 1), which Defendants intend to use to support disputed findings of

fact at trial1:



1
  Defendants previously filed the statements of their additional experts that they intend to use to support disputed
findings of fact at trial on August 31, 2022. (See Dkt. No. 301.)
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Dated: September 14, 2022             KELLEY DRYE & WARREN LLP
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                                      Supplements, and Quincy Bioscience
                                      Manufacturing, LLC

                                      COZEN O’CONNOR P.C.

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